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       1   4
           LAW OFFICES OF GABRIEL LIBERMAN, APC
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       6
           Attorney for CAPSITY, INC.
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       8
                                       UNITED STATES BANKRUPTCY COURT
       9                                EASTERN DISTRICT OF CALIFORNIA
                                             SACRAMENTO DIVISION
      10
      11
           In re                                           Case No. 2023-23940-B-11
      12                                                   DCN: GEL-4
           CAPSITY, INC.
      13                                                   DECLARATION OF DMITRI
                                                           GODAMUNNE IN SUPPORT OF
      14
                                                           SUPPLEMENT TO MOTION TO USE
                         Debtor,
      15                                                   CASH COLLATERAL AND GRANT
                                                           ADEQUATE PROTECTION;
      16                                                   SCHEDULING DEADLINES RELATING
      17                                                   TO A FINAL HEARING ON USE OF
                                                           CASH COLLATERAL
      18
                                                           Date:     April 23, 2024
      19                                                   Time:     11:00 a.m.
      20                                                   Location: 501 I Street, 6th floor,
                                                                     Courtroom 32
      21                                                             Sacramento, CA
      22                                                   Judge:      Honorable Christopher D. Jaime
      23
      24    I, DMITRI GODAMUNNE hereby declare as follows:
      25    1. I am over the age of 18 and am mentally competent and I make this declaration regarding Debtor’s
      26
      27
      28
                                                             5
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       1    SUPPLEMENT TO MOTION TO USE CASH COLLATERAL AND GRANT ADEQUATE
       2    PROTECTION; SCHEDULING DEADLINES RELATING TO A FINAL HEARING ON USE OF CASH
       3
            COLLATERAL.
       4
            2. I am the president of CAPSITY, INC., the debtor in possession (the “Debtor”).
       5
       6    3. In my capacity as Debtor’s president, I am familiar with Debtor’s daily business, operations, and

       7   financial affairs. Except as otherwise indicated, all of the facts set forth in this Declaration are based
       8
           upon my personal knowledge of Debtor’s operations and finances, information learned from my review
       9
           of relevant documents, and information supplied to me by other members of Debtor’s management and
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           Debtor’s business and legal advisors. If called upon to testify as to the content of this Declaration, I
      11
      12   could and would do so.

      13          The Unauthorized Use of Cash Collateral
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            4. Between November 2, 2023 to March 5, 2023, without approval by the Court or its secured
      15
            creditors, Debtor used rents collected to pay $8,105.00 to SMUD for utility expenses, $114.85 for bank
      16
      17    and association fees and $1,750 to pay secured creditor, Intertorg, LLC. In total $10,119 was used

      18    during this period, and further broken down in the tables below:
      19
                          Broadway Property
      20                  INCOME:                        November      December     January     February
      21                  Rental Income:                  $10,804        $6,563      $8,611       $7,813
      22
      23                  EXPENSES:
      24                  SMUD (Broadway)                $1,051.00      $851.00      $852.00     $957.00
                          Intertorg, LLC (secured)       $1,500.00      $250.00         $0          $0
      25
                          PG&E (Broadway)                 $150.00          $0           $0          $0
      26                  Bank fees                                      $29.95       $29.95      $29.95
                          Total Expenses:                $2,701.00     $1,130.95     $881.95     $986.95
      27
      28
                                                                 6
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       1                      Del Paso Property
       2                      INCOME:                          November       December      January     February

       3                      Rental Income:                     $8,000         $8,000       $8,000      $7,200

       4
                              EXPENSES:
       5                      SMUD (Del Paso)                  $1,174.00      $1,020.00      $1,100      $1,100
                              Oak Park Association Dues                        $25.00
       6
       7                      Total Expenses:                  $1,174.00      $1,045.00     $1,100.00   $1,100.00
       8
       9              Request for Retroactive Approval
      10       5. Debtor did not initially seek approval of cash collateral due 1) Debtor filing pro-se and not retaining
      11
           counsel until November 16, 2023, which effectively pro-longed the initial document gathering and early
      12
           critical stages of the Chapter 11 Case.
      13
      14       6. I have struggled to maintain the bare minimum requirements of operating in compliance with the

      15   United States Trustee’s Debtor in Possession requirements. This included compliance with the Initial
      16   Debtor Interview (IDI), including opening a Debtor in Possession account, providing requested
      17
           information and documents which has since frustrated this case from its inception.
      18
               7. I was able to open a DIP bank account, provide the necessary IDI documents and have been able to
      19
      20   focus more on the next phases of this case.

      21       8. During Debtor’s many2 341 meeting of creditors, and as stated to Mr. Liberman off the record, I
      22
           indicated that Debtor would not be using the rental income and would segregate the rental proceeds.
      23
           Eventually, this led to issues of how Debtor would pay its operational costs, to which, I stated that
      24
           Debtor had a history of crediting tenants rent payments in exchange for the tenants paying the buildings
      25
      26   operational costs such as the SMUD bill. At each meeting of creditors, new issues arose which stemmed
      27
           2
               December 7, 2023, January 8, 2024, January 29, 2024 and concluded on February 9, 2024
      28
                                                                        7
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       1   from jumbled financial reports and budgets being prepared. This is due to the fact that I do not have a
       2   bookkeeper or staff to assist in me and I am doing my best in preparing the necessary reports being
       3
           requested.
       4
            9. During the case not all of the rental income has been segregated but has been used to help keep the
       5
       6    buildings operational.

       7
       8
            I declare under penalty of perjury of the laws of the United States that these facts are true to the best of
       9
           my knowledge and belief.
      10
           Dated this 11th day of April, 2024
      11
      12                                          By:     /s/ DMITRI GODAMUNNE
                                                             DMITRI GODAMUNNE
      13                                                     President for Debtor
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